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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA



UNITED STATES OF AMERICA,                          Criminal No. 08-395 (RHK/JJG)

                    Plaintiff,                     ORDER ON REPORT AND
                                                    RECOMMENDATION
v.

DEMONE ROYELIO SMITH (10),

                    Defendant.



      Before the Court are Defendant Smith’s Objections to the July 10, 2009 Report

and Recommendation of Magistrate Judge Jeanne J. Graham. Judge Graham has

recommended denial of various motions filed by Defendant Smith.

      Based upon the undersigned’s de novo review of the Report and Recommendation

and Defendant Smith’s Objections thereto, IT IS ORDERED:

           1. Defendant Smith’s Objections (Doc. No. 405) are OVERRULED;

           2. The Report and Recommendation (Doc. No. 387) is ADOPTED;

           3. Defendant Smith’s Motion to Quash Arrest (Doc. No. 115) is DENIED;

           4. Defendant Smith’s Motion to Suppress Evidence Derived from
              Electronic Surveillance (Doc. No. 116) is DENIED;

           5. Defendant Smith’s Motion to Suppress Evidence Obtained in
              Violation of the Fourth Amendment (Doc. No. 117) is DENIED;

           6. Defendant Smith’s Motion to Suppress Confessions (Doc. No. 118)
              is DENIED AS MOOT; and

      7.      Defendant Smith’s Motion to Dismiss Indictment on Grounds of
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            Insufficient Allegations (Doc. No. 121) is DENIED.

Dated: August 3, 2009

                                      s/Richard H. Kyle
                                      RICHARD H. KYLE
                                      United States District Judge
